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Andino, Marci

From:                        Brian Newby <BNewby@eac.gov>
Sent:                        Tuesday, August 23, 2016 4:22 PM                                        .
To:                          John.Merrill@sos.Alabama.gov; stevenreed@mc-ala.org; josie.bahnke@alaska.gov;
                             carol.thompson@alaska.gov; lealofi.uiagalelei@eo.as.gov; fiti.tavai@gmail.com;
                             espencer@azsos.gov; rvalenzuela@risc.maricopa.gov; cpekron@qgtlaw.com;
                            jacksoncountyclerk@gmail.com; Neal.kelley@rov.ocgov.com;
                             dwight.shellman@sos.state.co.us; rsantos@co.weld.co.us; peggy.reeves@ct.gov;
                             tdecarlo@waterburyct.org; elaine.manlove@state.de.us; howard.sholl@state.de.us;
                             Maria.Matthews@DOS.myflorida.com; plux@co.okaloosa.fl.us; bpkemp@sos.ga.gov;
                             lbailey@augustaga.gov; maria.pangelinan@gec.guam.gov; joe.iseke@gec.guam.gov;
                            Aulii.c.tenn@hawaii.gov; Shirley.magarifuji@mauicounty.us; thurst@sos.idaho.gov;
                             pattyweeks@co.nezperce.id.us; bglazier@elections.il.gov; lgough@earthlink.net;
                             bking@iec.in.gov; trethlake@co.st-joseph.in.us; carol.olson@sos.iowa.gov;
                            gveeder@co.black-hawk.ia.us; bryan.caskey@sos.ks.gov;
                            at_county_clerk@wan.kdor.state.ks.us; maryellen.allen@ky.gov;
                            cou ntyclerk@jeffersoncou ntyclerk. org; Angie. rogers@sos. lou isiana. gov; ljperret@I pclerk. com;
                            julie.flynn@maine.gov; KLJ@portlandmaine.gov; Nikki.Charlson@Maryland.gov;
                             katie.brown@maryland.gov; Michelle. Tassinari@sec.state.ma. us; elections@cobma.us;
                            WilliamsS 1@mich igan .gov; J Roncelli@Bloomfieldtwp.org; gary.poser@state.mn.us;
                            sharon.k.anderson@co.cass.mn.us; Hawley.robertson@sos.ms.gov;
                            bmosley@lafayettecoms.com; julie.allen@sos.mo.gov; Howell@sos.mo.gov;
                            lkimmet@mt.gov; charlotte.mills@gallatin.mt.gov; neal.erickson@nebraska.gov;
                            dshively@lancaster.ne.gov; jwendland@SOS.NV.gov; jpg@ClarkCountyNV.gov;
                            astevens@sos.nh.gov; robertd@pointing.com; Robert.Giles@sos.nj.gov; lvonnessi@aol.com;
                            Kari.Fresquez@state.nm.us; dkunko@co.chaves.nm.us; douglas.kellner@elections.ny.gov;
                            rachel.bledi@albanycounty.com; veronica.degraffenreid@ncsbe.gov;
                            Michael. Dickerson@mecklenburgcountync.gov; jsilrum@nd.gov; cbradley@nd.gov;
                            pwolfe@ohiosecretaryofstate.gov; HARSMANS@mcohio.org; carol.morris@elections.ok.gov;
                            dousan@oklahomacounty.org; james.r.williams@state.or.us;
                            derrin.robinson@co.harney.or.us; maschneide@pa.gov; jgreenburg@mcc.co.mercer.pa.us;
                            rallende@cee.gobierno.pr; WaValez@cee.gobierno.pr; rrock@sos.ri.gov; Andino, Marci;
                            vr14sblack@hotmail.com; Kristin.Kellar@state.sd.us; jerry.schwarting@state.sd.us;
                            Mark.Goins@tn.gov; astarling@tnaflcio.org; kingram@sos.texas.gov;
                            elections@traviscountytx.gov; mjthomas@utah.gov; sswensen@slco.org;
                            will.senning@sec.state.vt.us; dorsetclerk@gmail.com; Caroline.Fawkes@vi.gov;
                            genevieve.whitaker@vi.gov; edgardo.cortes@elections.virginia.gov;
                            Griddlemoser@staffordcountyva.gov; stuart.holmes@sos.wa.gov;
                            swansonk@co.cowlitz.wa.us; lbrown@wvsos.com; bwood@putnamwv.org;
                            michael.haas@wi.gov; bgoeckner@village.germantown.wi.us; jgonzales@co.albany.wy.us;
                            kai.schon@wyo.gov
Cc:                         EAC Leadership
Subject:                    Attached Security Document
Attachments:                BOE_FLASH_aug2016_final.pdf


Dear Standards Board Member,

On behalf of EACCommissioner Christy McCormick, as the agency's DFO for the Standards Board, I am sending the
attached security document to you that has been provided to us recently by the Federal Bureau of Investigation. The FBI
has asked that we share this document expressly with election officials.

You'll see that the document identifies specific Internet Protocol (IP) addresses and recommends that election officials
scan their systems to ensure these IP addresses are not accessing election systems.

Please share this with other election officials in your state, respecting the FBl's designation that this information be
shared on a need-to-know basis only. The attachment is non-classified, but it is not intended for distribution outside of
the election administrator community.

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Should you have any questions regarding this information, please call or email me. In the meantime, thank you for your
assistance regarding this information.



Brian D. Newby, CERA I Executive Director
Election Assistance Commission
1335 East West Highway Suite 4300
Silver Spring I Maryland 20910
                                       I
                            I
(301) 563-3959 (0) (202) 734-0639 (C)
bnewby@eac.gov I www.eac.gov


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                         ASSISTANC'.E(=()1\it
               any files transmitted with it are confidential and intended solely for the use of the lndlvldual or entity to which they are
addressed. If you have received this email In error please notify the system manager. The recipient is advised to check this email and any
attachments for the presence of viruses. The Election Assistance Commission accepts no liability for any virus transmitted by this email.




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                                 In furtherance of public-private partnerships, the FBI routinely advises private
                                 industry of various cyber threat indicators observed during the course of our
  18 August 2016
                                 investigations. This data is provided in order to help cyber security professionals
                                 and system administrators to guard against the persistent malicious actions of
       Alert Number
                                 cyber criminals.
    T-LD1004-TT
                                 This FLASHhas been released TLP: AMBER: The information in this product is only
                                 for members of their own organization and those with DIRECTNEEDTO KNOW.
  WE NEED YOUR                   This information is NOT to be forwarded on beyond NEEDTO KNOW recipients.
         HELP!
  If you find any of             Targeting         Activity Against State Board of Election
these indicators on              Systems
 your networks, or
                                 Summary
      have related
information, please              The FBI received information of an additional IP address, 5.149.249.172, which
                                 was detected in the July 2016 compromise of a state's Board of Election Web site.
        contact                  Additionally, in August 2016 attempted intrusion activities into another state's
    FBI CYWATCH                  Board of Election system identified the IP address, 185.104.9.39 used in the
                                 aforementioned compromise.
     immediately.
         Email:                  TechnicalDetails
cywatch@ic.fbi.gov
                                 The following information was released by the MS-ISACon 1 August 2016, which
          Phone:                 was derived through the course of the investigation.

   1-855-292-3937                In late June 2016, an unknown actor scanned a state's Board of Election website
                                 for vulnerabilities using Acunetix, and after identifying a Structured Query
    *Note: By reporting any      Language (SQL) injection (SQLi)vulnerability, used SQLmap to target the state
  related information to FBI     website. The majority of the data exfiltration occurred in mid-July. There were 7
 CyWatch, you ore assisting in   suspicious IPs and penetration testing tools Acunetix, SQLMap, and DirBuster used
   shoring information that      by the actor, detailed in the indicators section below.
     allows the FBIto track
      malicious actors and       Indicators associated with the Board of Elections intrusion:
    coordinate with private
industry and the United States       •   The use of Acunetix tool was confirmed when "GET/acunetix-wvs-test-for-
                                                                     11                               11          11

Government to prevent future             some-inexistent-file -443        and several requests with    wvstest=        appeared
    intrusions and attacks.              in the logs;




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    •   The user agent for Acunetix was identified in the logs -
        " Mozil Ia/5 .0+(Win d ows+NT +6, l;+WOW64 )+App leWe bl(it/53 7, 21++(KHTML,+Ii ke+Gecko)+Chrome/ 41,0, 2228,
        0+Safari/537.21";

    •   The use of SQLMap was confirmed after "GET /status,aspx DLIDNumber=l';DROP TABLEsqlmapoutput"
        appeared in the logs;

    •   The user agent for SQLMap is "Mozilla/5.0+(Macintosh;+U;+lntel+Mac+OS+X+10.7;+en-US;+rv:l,9,2,2)+
        Gecko/20100316+Firefox/3,6,2 200 0 0 421" (These are easily spoofed and not inclusive of all SQLMap activity);

    •   The user agent for the DirBuster program is "DirBuster-1.0-
        RCl +( http://www.owasp.org/index.  php/Category:OWASP _ DirBuster _Project<http://www.owasp.org/index,ph
        p/Category:OWASP _DirBuster_Project> )";

IP Addresses:


    •       185,104,11,154
    •       185,104,9,39
    •       204.15S.30.75
    •       204.15S.30.76
    •       204,155,30,80
    •       204,155,30,81
    •       89,188,9,91
    •       5.149.249.172 (new, per FBI)

Recommendations

The FBI is requesting that states contact their Board of Elections and determine if any similar activity to their logs, both
inbound and outbound, has been detected, Attempts should not be made to touch or ping the IP addresses directly,

Recommended Steps for Precautions

The FBI recommends all states take the following precautions to their state Board of Election databases:

    •   Search logs for commands often passed during SQL injection: SELECT,INSERT,UNION, CREATE,DECLARE,CAST,
        EXEC,and DELETE,', %27, --

    •   Search logs for privilege escalation attempts
           o Looking for references to "cmd.exe" and "xp_cmdshell" (115only)
           o Common to see these following SQL injection (logical next step)
           o Can limit search to entries with HITP status code 200 (success)




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    •   Search for signs of directory enumeration/traversal of the web server file system (used to identify the type of
        scripting language a web server supports)
             o Lookingfor series of unsuccessful connections with strange URIstrings, such as:
                     •   GET/Login// ..%Sc..%Sc..%Sc..%Sc..%Sc..%5c..%5c..%5cetc/passwd
                     •   GET/images"OTA2NjAw%40
                     •   GET/Login// ../../.,/.,/ ../ ../../ ../etc/passwd
                    •    GET /Login// ../ ../ ../ ../ ../ ../ ../ ../windows/win.ini
                            •   Shortly after these requests you should see SQL injection in the logs
                             •    May also be" ..\ ..\ .."

The following recommendations were released by the MS-ISACon 1 August 2016.

   •    Conduct vulnerability scans on local government and law enforcement websites and promptly remediate any
        vulnerabilities (or contact your hosting provider to do so on your behalf). Particular attention should be paid to
        SQLi vulnerabilities. Website hosting providers should also pay attention to vulnerabilities on other websites
        on the same server, which may provide a back-door into the local government's website.

   •    Ensure all software.and applications, especially content management software, are fully patched.

   •    Create custom, general error messages for the web application to generate, as malicious cyber actors can gain
        valuable information, such as table and column names and data types, through default error messages
        generated by the database during a SQLi attack.

   •    Validate user input prior to forwarding it to the database. Only accept expected user input and limit input
        length. This can be done by implementing a whitelist for input validation, which involves defining exactly what
        input is authorized.

   •    Implement the principle of least privilege for database accounts. Administrator rights should never be assigned
        to application accounts and any given user should have access to only the bare minimum set of resources
        required to perform business tasks. Access should only be given to the specific tables an account requires to
        function properly.

   •    The database management system itself should have minimal privileges on the operating system, and since
        many of these systems run with root or system level access by default, it should be changed to more limited
        permissions.

   •    Isolate the web application from the SQL instructions. Place all SQL instructions required by the application in
        stored procedures on the database server. The use of user-created stored procedures and prepared
        statements (or parameterized queries) makes it nearly impossible for a user's input to modify SQL statements
        because they are compiled prior to adding the input. Also, have the application sanitize all user input to ensure
        the stored procedures are not susceptible to SQLi attacks.

   •    l)se static queries. If dynamic queries are required, use prepared statements.




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    •   Enable full logging on web servers and email servers to aid in forensic and legal responses if a breach does
        occur.


Information in this product is for official use only. No portion of this FLASHshould be released to the media or the
general public. Organizations should not attempt to connect to any of the IP addresses or domain names referenced in
this FLASH.The indicators are being provided for network defense purposes only and any activity to these indicators or
release of this material could adversely affect investigative activities.


Reporting Notice

The FBI encourages recipients who identify the use of tool(s) or techniques discussed in this document to report
information to their local FBI Field Office or the FBl's 24/7 Cyber Watch (CyWatch). Field Office contacts can be
identified at www.fbi.gov/contact-us/field.   CyWatch can be contacted by phone at 855-292-3937 or by e-mail at
CyWatch@ic.fbi.gov. When available, each report submitted should include: the date; time; location; type of activity;
number of infected users; type of equipment used for the activity; name of the submitting company or organization;
and a designated point of contact.




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STATE
    UN1ti~sn~                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017



Background

On Wednesday March 1st at 9:29pm, a member of the KSUUITSInformation Security Office was
contacted by a KSUfaculty member regarding an alleged breach of data on the elections.kennesaw.edu
server. UITSstaff validated the vulnerability and notified the CIO regarding the incident. The data
contained hosted on the identified server was outside the scope of student information and no student
records are associated with this alleged breach. Log analysis identified that the largest file identified
contained voter registration information for 6.7 million individuals.

Actions Taken

Within an hour of initial contact, the vulnerability was confirmed and firewall rules established to block
accessto elections.kennesaw.edu. On March 2, 2017, UITS-ISOpulled apache and Drupal logs, reported
incident to USG,reset passwords, and seized the elections.kennesaw.edu server. On March 3, 2017, the
FBIwas engaged and the impacted server was turned over to FBIfor investigation.

IT staff which were reporting within the Center for Election systems were realigned to report within the
University Information Technology Services Information Security Office and a walkthrough of the area
performed to validate the isolated internal network's segregation from the public network. The
elections backup server- unicoi - was removed from the Center and physically secured within UITSISO
Evidence Storage.

On March 30th , KSUemployees (President Olens, CIO,AVP Strategic Communications, Legal Counsel,
CISO,CESRepresentatives) met with the FBIand USAttorney's Office regarding the outcome of the
Federal Investigation. Chad Hunt shared that the investigation had yielded no data that "escalates to the
point of breach". KSUReleaseda statement to the media on 3/31/17 as follows:

         KENNESAW,Ga (Mar. 31, 2017)-Kennesaw          State officials report there is no indication
         of any illegal activity and that no personal information          was compromised         following
         unauthorized       access of a dedicated server at the Center for Election Systems. KSU
         officials were briefed yesterday by the Federal Bureau of Investigation                (FBI).

         University officials were first notified of the situation       on March 1 and immediately
         isolated the server. Officials also contacted the Office of the Secretary of State and
        federal law enforcement,       which prompted        the FBI investigation.     According to the
         FBI, the server was accessed by an outside security researcher. No student data was
         involved.

        "We are working with experts within the University System of Georgia and an
        outside firm to validate that KSU's systems are secured and meet best practice
        standards,"      said KSU President Sam Olens. "We greatly appreciate the speed and
        dedication      of the FBI and the U.S. Attorney's     Office in helping us resolve this issue."




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STATE
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UITS Information Security Office                                 Incident Date: March 1, 2017
Financial Impact

None, although if it was determined that the data hosted on elections.kennesaw.edu was maliciously
disclosed, the notification and credit monitoring would have been approximately $2 million.

Successes

The following list describes those actions or systems that worked as intended, or better than
anticipated, during the execution of incident and breach response activities:

              o    The UITS ISO Incident Response process worked as intended, isolating the server and
                   preserving evidence for later analysis and hand-off to federal authorities.
              o    The time between initial report and the server being isolated was approximately 60
                   minutes.
              o    The open dialog between the faculty incident reporter and the Office of the CIO staff
                   facilitated timely notification and rapid response time.
              o    Having regular conversations with Legal Affairs, Strategic Communications, Center for
                   Election Systems staff, and the Office of the CIO ensured that all parties were informed
                   on developments, allowing for individual planning in each respective area.

Opportunities for Improvement

     1.   Issue: Poor understanding of risk posed by The Center for Election Systems IT systems. While a
          previous server scan and an external researcher had helped UITS understand the high threat
         level of CESsystems, the lack of understanding the hosted data set led to an incomplete picture
         of the asset value. This resulted in the existence of a high risk server (High Asset Value/ High
         Threat Level) which should have been prioritized.
     Action item(s): An objective 3'' party was hired to conduct a threat assessment for externally-facing
     applications. In addition, funding was secured to extend the current KSUvulnerability scanning
     engine to allow for external scans. Once these scans are complete, a thorough analysis of all
     vulnerable systems will quantify the threat level and remediation plans will be developed (and
     incorporated into remediation projects)
     Action Item Owner(s): UITS Information Security Office


     2.   Issue: Elections webserver and Unicoi backup server are running a vulnerable version of Drupal
          and vulnerable to exploitation.
     Action Items: Elections (externally-facing) was seized immediately and Unicoi (isolated network)
     was seized thereafter. Both were placed in ISOSecure Storage. UITSprovisioned a dedicated virtual
     server, FS-ES,and business documents were moved to a newly provisioned server. This share is
     limited the CESsubnet and CESActive Directory group users. Server administrators are limited to 2
     UITS 155Staff Members.
     Action Item Owner: UITS-15O,UITS-155,CESStaff


     3.   Issue: CESconfidential data handling processes were not defined.
     Action Items: Business processes were developed, documented, and implemented to ensure
     confidential data is handled appropriately. CEStechnicians were issued Iron Key encrypted hard


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UITS Information Security Office                                 Incident Date: March 1, 2017
     drives and secure FTPtransfers established with Georgia Secretary of State's Office. To date, all
     processes have been approved by the Georgia Secretary of State's Office.
     Action Item Owner: UITS-I5O,CESStaff, Georgia Secretary of State Office


     4.   Issue: Center for Election System IT staff is not aligned with the University Information
          Technology Services, creating a scenario in which institutional risk could be accepted without
          CIO awareness.
     Action Items: CESIT staff reporting structure realigned to mirror UITSTSSmodel. CESIT staff will
     report directly to UITS-I5Owhile directly supporting the CES. Additionally, all processes will align
     with USGand KSUdata security policies. Strategically, UITS is launching a project to engage all
     external IT in order to better understand university-wide IT risk.
     Action Item Owner: UITS-I5O,CESStaff


     5.   Issue: Room 105a, the elections private network data closet, was not latching properly due to
          lock/door misalignment.
     Action Items: CISOcontacted Chief of Police to have lock and door aligned. Work was completed
     within one business day. ISOto develop processes to review access logs on a scheduled basis.
     Action Item Owner: UITS-I5O. KSU UPD, CESStaff


     6.   Issue: The elections private network data closet contains a live network jack to the
             · ' Q bl fZ >-(Public network)
     Action Items: UITS-I5Oshould acquire color-coded Ethernet Jack block-outs to "lock" all ports in the
     data closet to the public network AND to "lock" all ports to the private network outside the data
     closet. Key's should be maintained by 155and ISO, necessitating consulting with UITSstaff before
     connecting devices.
     Action Item Owner: UITS-I5O, UITS-I55


     7.   Issue: A number of IT Assets within the Center for Elections Systems have reached end-of-life
          and need to be replaced or migrated to different infrastructure.
                  1. Rackmount UPS Battery backups (one displaying warning light)
                  Recommendation: Replace batteries as needed and move under UITS 155management
                  2. 3com Switches -Age 10+ years -- No Support -- L2 only
                  Recommendation: Replace and move under UITS 155management
                  3. Dell 1950 (Windows Domain Controller) -Age 10+ years
                  Recommendation: Surplus
                  4. Dell PowerEdge R630 -Age 1 year
                  Recommendation: Migrate services from Dell 1950 and move under UITS 155
                  management on CESIsolated Network
                  5. EPIC-Vision Computer-Age Unknown - Ballot creation box
                  Recommendation: Continue as I5O/CESmanaged
                  6. EPICFiles - Dell 1900 -Age 6+ years - Ballot backups
                  Recommendation: Surplus
                  7. NAS - Dell 1900 -Age 6+ years - CESIsolated Network NAS
                  Recommendation: Surplus
                  8. elections.kennesaw.edu - Age 5 years - Dell PowerEdge R610


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          STATE
                                                                                 Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
                 Recommendation: Format and reinstall on CESIsolated Network as NAS
                 9. unicoi.kennesaw.edu -Age 6+ years. Dell PowerEdge 1950
                 Recommendation: Surplus
                 10. Web server backup
                 Recommendation: Surplus
     Action Item Owner: UITS-ISO,UITS-ISS,CESStaff

     8.    Issue: An operating system and application security assessment has not been conducted on the
           CESIsolated Network
     Action Items: UITS-ISOshould perform a stand-alone security assessment of the CESIsolated
     Network using a laptop-based scanning engine. Servers and workstations should be hardened based
     on the scan results and regular testing of the network scheduled.
     Action Item Owner: UITS-ISO,UITS-155,CESStaff

     9. Issue: A wireless access point was found when UITS did a walkthrough of the CESHouse
     Action Items: Understanding the risk that a wireless access point presents to the CESisolated
     network, UITS-ISOshould prioritize CESfor wireless network upgrade and put guidelines in place
     which prohibit the use of non-KSU wireless devices in the house.
     Action Item Owner: UITS-ISO,UITS-ISS


     10. Issue: Inconsistent port colors in House 57. Data outlets throughout the building have different
           color bezels to indicate which network is public and which is private:
                   Red= analog voice/phone
                   Green= KSUdata public network
                   Blue= Elections private network
                   White= Elections 2nd private network
          Since the original cabling installation the two private networks established for elections now act
          as a single private network. In room 105a, the blue cables terminate to one patch panel and the
          white cables terminate to another patch panel. They have connected jumpers from both of
          these patch panels to the same switch thus eliminating any separation by the colors Blue or
          White.
     Action Items: Jacks for the public and private network should be reinstalled to conform to campus
     color standards. Additionally, jacks from the public and private networks should be on different
     panels. The total cost of this change will be approximately $3,000.
     Action Item Owner: UITS-ISO,UITS-ISS




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